                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                      )       MATTICE/CARTER
                                               )
         v.                                    )       CASE NO. 4:09-CR-49
                                               )
 BOBBY SHETTERS                                )



                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on April 22, 2010.

 At the hearing, defendant entered a plea of guilty to the lesser included offense in Count One of

 the Indictment, conspiracy to manufacture, distribute, and possess with the intent to distribute

 five (5) grams or more of methamphetamine actual in violation of 21 USC §§ 846 and

 841(b)(1)(B), in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

 understands the nature of the charge and penalties provided by law; and that the plea has a

 sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment, and that the

 written plea agreement be accepted at the time of sentencing. I further recommend that


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 defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication

 of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved

 for the district judge.

         The defendant’s sentencing date is scheduled for Monday, July 19, 2010, at 9:00 am.



         Dated: April 22, 2010                         s/William B. Mitchell Carter
                                                       UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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